
901 So.2d 1077 (2005)
Falyn Marie LESLIE
v.
William C. ANDREWS and Elise Andrews, Individually and on Behalf of Their Daughter, Frances Andrews, and Frances Andrews, Major and ABC Insurance Company.
No. 2005-OC-1161.
Supreme Court of Louisiana.
May 5, 2005.
*1078 In re Leslie, Falyn Marie;Plaintiff; Applying for Supervisory and/or Remedial Writs, Parish of St. Bernard, 34th Judicial District Court Div. A, No. 93-935; to the Court of Appeal, Fourth Circuit, No. 2004-CA-2053.
Denied.
